          Case 24-33353 Document 8 Filed in TXSB on 07/25/24 Page 1 of 3




                     IN THE UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


 IN RE:                                              §
                                                     §            CASE NO. 24-33353-JPN
 BARROW SHAVER RESOURCES                             §
 COMPANY, LLC                                        §                   CHAPTER 7
     Debtor.                                         §


               NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
       Please take notice that the undersigned appears for NETX Acquisitions, LLC and ETX

Minerals, LLC, parties in interest in this case, and pursuant to Rules 2002 and 9007 of the

Bankruptcy Rules, requests that all notices given, or required to be given, in this case and all papers

served, or required to be served, in this case, be given to and served upon the undersigned at the

office, address and telephone number set forth below.

       Please take further notice that pursuant to Section 1109(b) of the Bankruptcy Code, the

foregoing request includes the notices and papers referred to in the Rules specified above and also

includes, without limitation, notices of any orders, applications, complaints, demands, hearings,

motions, petitions, pleadings or requests, and any other documents brought before this Court in

this case, whether formal or informal, whether written or oral, and whether transmitted or conveyed

by mail, delivery, telephone, telegraph, telefax, telex or otherwise.

       Notwithstanding the aforementioned, please take note that the undersigned attorneys and

law firm are not authorized by NETX Acquisitions, LLC and ETX Minerals, LLC to accept service

of process on behalf of NETX Acquisitions, LLC and ETX Minerals, LLC.
          Case 24-33353 Document 8 Filed in TXSB on 07/25/24 Page 2 of 3




                                               Respectfully submitted,

                                               By:     /s/ Christopher L. Halgren
                                                       Christopher L. Halgren
                                                       State Bar No. 24069859
                                                       Southern District Federal Bar No. 1062824
                                                       McGinnis Lochridge LLP
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                                                       (713) 615-8500
                                                       (713) 615-8585 (Fax)
                                                       Email: chalgren@mcginnislaw.com

                                               ATTORNEYS FOR NETX ACQUISITIONS, LLC
                                               AND ETX MINERALS, LLC


                                  CERTIFICATE OF SERVICE

       On July 25, 2024, I certify that I have on this day electronically filed the foregoing Notice of
Appearance using the Court’s CM/ECF filing system, which sends a notice of this filing and an
accompanying link to this filing to all parties who have filed a notice of appearance in this case under
the Court’s CM/ECF system. Notice has also been served as noted below via First Class Mail.

Debtor:
Barrow Shaver Resources Company, LLC (Via First Class Mail)
977 Pruitt Place
Tyler, TX 75703

Debtor’s Attorney:
Barrow Shaver Resources Company, LLC, Pro Se (Via First Class Mail)
977 Pruitt Place
Tyler, TX 75703

Debtor’s Attorney in pending litigation:
Corey F. Wehmeyer (Via First Class Mail)
Santoyo Wehmeyer
IBC Highway 281 North Center Bldg
12400 San Pedro Ave., Suite 300
San Antonio, Texas 78216

Petitioning Creditor:
Axis Energy Services, LLC (Via First Class Mail)
901 Main Street
Suite 4920
Dallas, TX 75202
         Case 24-33353 Document 8 Filed in TXSB on 07/25/24 Page 3 of 3




Petitioning Creditors’ Attorney:
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Attorney for SDS Petroleum Consultants, LLC
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US Trustee
Office of the US Trustee
515 Rusk Ave., Suite 3516
Houston, TX 77002

                                          /s/ Christopher L. Halgren
                                          Christopher L. Halgren
